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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

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                                                                   C.A. NO. ~-1390-RGA

    DISPLAY TECHNOLOGIES, LLC )                            JURY TRIAL DEMANDED
                              )
    V.                                     )
                                           )
    COMO AUDIO, LLC                        )


                   DEFENDANT COMO AUDIO, LLC'S
      ANSWER AND DEFENSES TO DISPLAY TECHNOLOGIES, LLC'S FIRST
                       AMENDED COMPLAINT

           Defendant Como Audio, LLC ("Defendant" or "Como") by and through its
    undersigned counsel, hereby answers Display Technologies, LLC's ("Plaintiff' or
    "DT") First Amended Complaint. Except as expressly admitted herein, Como denies all
    allegations of the complaint.


                                               PARTIES
            1.     Como lacks sufficient knowledge or information to form a belief as to
    the allegations contained in Paragraph 1 of the Complaint and on that basis, therefore
    denies them.
           2.      The Defendant admits the allegations contained in Paragraph 2.


                                 JURISDICTION AND VENUE


           3.      The Defendant admits the Complaint purports to bring an action for
    infringement arising under 35 U.S.C. § 271 (a), 28, and 284-85. Como admits that this
    Court has subject matter jurisdiction over this action.
           4.      Como admits the allegations contained in Paragraph 4.
           5.      The Defendant admits that it is subject to this Court's specific and
    general personal jurisdiction pursuant to due process and/or the Delaware Arm Statue,
    but denies that it does substantial business in this forum, and further denies that it has
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   infringed U.S. Patent No. 9,300, 723 (the "'723 Patent") in this district, or any other
   district of the United States.
           6.       Como lacks sufficient knowledge or information to form a belief as to
   the allegations contained in Paragraph 6 of the Complaint and on that basis, therefore
   denies them. Como admits that Exhibit A purports to be a copy of the '723 Patent.
           7.       Como lacks sufficient knowledge or information to form a belief as to
   the allegations contained in Paragraph 7 of the Complaint and on that basis, therefore
   denies them.
           8. ·     Como lacks sufficient knowledge or information to form a belief as to
   the allegations contained in Paragraph 8 of the Complaint and on that basis, therefore
   denies them.
           9.       Como admits that it has sold directly or through intermediaries, makes,
   uses, imports, sells and/or offers for sale products and/or systems (i.e., Como Solo and
   Como Duetto). Como denies that any of these products infringe any valid claim of the
    '723 Patent.
           10.      Denied.
           11.      Denied.
           12.      Denied.
           13.      Denied.
           14.      Denied.
           15.     Denied.
           16.      Denied.
           17.     Denied.
           18.      Denied.
                                            PRAYER FOR RELIEF
           Como denies all allegations in the Plaintiffs prayer for relief and denies that the
   Plaintiff is entitled to any relief.
                                          DEMAND FOR JURY TRIAL
           No response is required to Display Technologies demand for a trial by jury, but
   Como Audio, LLC hereby demands a trial by jury on all issues so triable, including but
   without limitation Como's defenses.
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                                COMO'S AFFIRMATIVE DEFENSES
           Como incorporates by reference the foregoing paragraphs in their entirety and
   asserts the following affirmative and other defenses. By asserting these defenses Como
   does not admit that it bears the burden of proof on any issue and does not accept any
   burden it would not otherwise bear. Como reserves all other defenses pursuant to Rule
    8 (c) of the Federal Rules of Civil Procedure, the Patent Laws of the United States, and
   any other defenses, at law or in equity, that now exist or in the future may be available
   based on discovery, and further factual investigation in this case.


                                     FIRST AFFIRMATIVE DEFENSE
           Display Technologies Complaint was filed in the improper venue and should
   thus be dismissed.
                                 SECOND AFFIRMATIVE DEFENSE
           Como does not and has no infringed, literally or under the doctrine of
   equivalents, any valid and enforceable claim of '723 Patent.


                                     THIRD AFFIRMATIVE DEFENSE
           Each of the asserted claims of the '723 Patent is invalid for failing to comply
   with one or more requirements of the Patent Laws of the United States, including but
   not limited to 35 U.S.C. §§ 102, 103, and 112.


                                 FOURTH AFFIRMATIVE DEFENSE
           Each of the asserted claims of the '723 Patent fail to comply with 35 U.S.C. §
    101 because each asserted claim is directed towards patent-ineligible subject matter
   such as abstract ideas without any inventive concept to transform the abstract ideas into
   patent eligible subject matter.


                                     FIFTH AFFIRMATIVE DEFENSE
           By reason of the prior art and/or statements and representatives made to and by
   the U.S. Patent and Trademark Office during prosecution of the applications that led to
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   the issuance of the '723 Patent and any related applications, the '723 Patent is so limited
   that none of the claims of the '723 Patent could be properly construed to cover any
   activity of Como.


                                 SIXTH AFFIRMATIVE DEFENSE
          Display Technologies claim for damages is limited by 35 U.S.C. 286 and/or 287.


                               SEVENTH AFFIRMATIVE DEFENSE


          Display Technologies claims are barred, in whole or in part, by the equitable
   doctrines of estoppel and/or patent exhaustion.
                                EIGHTH AFFIRMATIVE DEFENSE
          Display Technologies claims are unenforceable due to improper revival of an
   abandoned application that led to the issuance of the '723 Patent.


                                    RESERVATION OF RIGHTS
          Como reserves the right to amend should it learn of additional information or
   defenses.
                                        DEMAND FOR JURY


          Como hereby demands a trial by jury on all issues so triable.


                                                 Respectfully submitted,
                                                 Como Audio, LLC

                                                 By its Attorney,


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                             CERTIFICATE OF SERVICE

          I, James Michael Merberg, certify I have this 21 st day ofNovember 2018 served
    a copy of Defendant Como Audio's LLC Answer and Defenses to Display Technology,
    LLC's First Amended Complaint by Federal Express to Katarzyna Brozynski, Spencer
    Fane, LLP, 5800 Granite Parkway, Suite 800, Plano, TX 7502 and Stephen B
    Brauerman, 600 North King Street, Suite 400, Wilmington, DE 19801.
